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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                                ROME DIVISION

William Phelps,                             )
                                            )
       Plaintiff,                           )       Civil Action File No.:
                                            )
v.                                          )
                                            )
Stallings Financial Group, Inc.,            )       COMPLAINT WITH
                                            )      JURY TRIAL DEMAND
       Defendant.                           )
                                            )

                           PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. 1692 et seq. and for violations of the Georgia Fair Business

Practices Act (GFBPA), O.C.G.A. 10-1-390 et seq.

                                       PARTIES

      1.     Plaintiff, William Phelps, is a natural person who resides in Floyd

County, Georgia.

      2.     Defendant, Hunter Warfield, is a corporation formed under the laws of

the State of Florida and does business in Georgia. Defendant may be served with


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process via its registered agent, Stephen Sobota, at 4620 Woodland Corporate

Boulevard, Tampa, Florida 33614-2415.

                              JURISDICTION AND VENUE

      3.      This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental jurisdiction

over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.      This Court has personal jurisdiction over Defendant because, inter alia,

Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.      Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.      Pursuant to LR 3.1B(3), venue is proper in the Rome Division because

the events occurred in Floyd County which is in the Rome Division.

                            FACTUAL ALLEGATIONS

      7.      Plaintiff is allegedly obligated to pay a consumer debt arising out of an

apartment lease and is therefore, a “consumer”, as that term is defined by 15 U.S.C.

§ 1692a(3).

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       8.    Defendant’s principal business is the collection of consumer debt and

the collection of those accounts for its commercial benefit. Defendant regularly

collects, or attempts to collect, directly or indirectly, debts owed or due, or asserted

to be owed or due, to a third party.

       9.    Defendant uses interstate commerce and/or mail in its business in the

collection of consumer debts.

       10.   Defendant manages, and collects upon, thousands of consumer debt

accounts annually.

       11.   Defendant is, therefore, a “debt collector” as that term is defined by 15

U.S.C. § 1692a(6).

       12.   Defendant had reported adverse information on Plaintiff’s credit report.

       13.   On or about June 9, 2020, Plaintiff called Defendant in response to the

credit reporting.

       14.   During the phone call, Defendant’s agent repeatedly threatened to sue

Plaintiff.

       15.   Defendant actually was not the legal owner of the debt and had no

authority to file a lawsuit against Plaintiff.

       16.   Defendant is not an attorney licensed to file lawsuits in the State of

Georgia.

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      17.      Defendant’s threats to file lawsuits were designed to abuse and harass

Plaintiff in order to solicit a payment on the alleged debt.

      18.      Plaintiff was misled by Defendant’s threats and as a result Plaintiff

suffered anxiety and worry that he was going to be sued by Defendant.

      19.      Also during the course of the call, Plaintiff advised Defendant that he

could not receive phone calls between 8:30 a.m. and 5:00 p.m. because he was at

work and could lose his job for receiving phone calls.

      20.      Plaintiff did seek to bar the Defendant from calling him at any hour

otherwise permitted by law; for example, between 5:00 p.m. and 9:00 p.m.

      21.      Defendant’s representative received his request and replied, “we’re not

calling you, sir, as per your request.”

      22.      Yet, Defendant called Plaintiff the next day at 11:35 a.m. while Plaintiff

was at work.

      23.      Defendant also called Plaintiff at 10:01 a.m. on June 13, 2020 while

Plaintiff was at work.

      24.      Defendant’s actions caused Plaintiff anxiety and worry that he was

going to lose his job for receiving phone calls while he was at work.




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      25.      Defendant took time out of his day to seek the advice of counsel

regarding the Defendant’s threats to sue and the Defendant’s phone calls while he

was at work.

                                 INJURIES-IN-FACT

      26.      The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health, Inc.,

654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th Cir.

2016).

      27.      An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).

      28.      Violation of statutory rights are not a “hypothetical or uncertain” injury,

but one “that Congress has elevated to the status of a legally cognizable injury

through the FDCPA.” McCamis, at 4, citing Church, at 3.

      29.      Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

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       30.    Defendant’s acts and omissions caused particularized harm to the

Plaintiff in that he was suffered worry and anxiety that he was going to be fired for

receiving phone calls at work, anxiety and worry that he was going to be sued by

Defendant, and also that he took time to discuss this debt with counsel in response

to the threats.

       31.    Accordingly, through the suffering of actual damages and a violation

of Plaintiffs’ statutorily created rights under the FDCPA, Plaintiffs have suffered an

injury-in-fact sufficient to establish Article III standing

                                     DAMAGES

       32.    As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

       a.)    Being subjected to false, deceptive, unfair, and unconscionable debt

collection practices;

       b.)    Uncompensated time expended away from work and/or activities of

daily living, to confer with counsel regarding the Defendant's collection efforts;

and,

       c.)    Anxiety and worry due to concerns that he might be fired for

receiving phone calls while at work or be sued by Defendant.




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                               CAUSES OF ACTION

                                      COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                               15 U.S.C. § 1692 et seq.

      33.      Plaintiff incorporates by reference paragraphs 1 through 32 as though

fully stated herein.

Violations of 15 U.SC. § 1692c and subparts

      34.      A debt collector may not, without the prior consent of the consumer

given directly to the debt collector or the express permission of a court of competent

jurisdiction, communicate with a consumer in connection with the collection of any

debt at the consumer’s place of employment if the debt collector knows or has reason

to know that the consumer’s employer prohibits the consumer from receiving such

communication.

      35.      Defendant had direct and actual knowledge that the Plaintiff could not

receive calls while at work without jeopardizing his position.

      36.      Defendant’s call(s) as described herein violated 15 U.S.C. §

1692c(a)(3).

Violations of 15 U.SC. § 1692d and subparts




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      34.    Defendant’s threats to file suit against Plaintiff were intended to harass,

abuse, embarrass, and intimidate the Plaintiff.

      35.    Defendant’s conduct violated 15 U.S.C. § 1692d.

Violations of 15 U.SC. § 1692e and its subparts

      37.    15 U.S.C. §•1692e specifically prohibits the use of any false, deceptive,

or misleading representations or means in connection with the collection of any debt.

      38.    The use of “or” in § 1692e means a representation violates the FDCPA

if it is false or deceptive or misleading. Bourff v. Rubin Lublin, LLC, 674 F.3d 1238,

1241 (11th Cir. 2012).

      39.    The standard in determining the nature of any such representation is

that of the “least sophisticated consumer.” Its purpose is to protect "naive

consumers" with a minimal understanding of personal finance and debt

collection. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th Cir. 2010).

      40.    Moreover, the least sophisticated consumer is not to be held to the same

standard as a reasonably prudent consumer. The least sophisticated consumer,

though not unreasonable, is "ignorant" and "unthinking," "gullible," and of "below-

average sophistication or intelligence," Pinson v. JPMorgan Chase Bank, Nat'l

Ass'n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at 12-13 (11th Cir. Nov. 12,

2019), quoting Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993)

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      41.    A false representation in connection with the collection of a debt is

sufficient to violate the FDCPA, even if it is not alleged or proven to be misleading

or deceptive.

      42.    Defendant’s statements that it would file a lawsuit against Plaintiff was

a false statement about the Defendant’s authority to take such action.

      43.    Defendant’s statements that it would honor Plaintiff’s request to not

receive phone calls while he was at work were false and misleading statements.

      44.    Defendant’s communications were in violation of 15 U.S.C. §§ 1692e,

e(2)(A), e(5), and e(10) among others.

      45.    As a result of Defendant’s violations of the FDCPA, Defendant is liable

to Plaintiffs for actual damages as described herein, statutory damages in the amount

of $1,000.00, costs of this action and reasonable attorney’s fees as determined by the

Court as mandated by 15 U.S.C. § 1692k.

                                     COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT

                           O.C.G.A. § 10-1-390, et seq.

      46.    Plaintiff incorporates by reference paragraphs 1 through 45 as though

fully stated herein.




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      47.    O.C.G.A. § 10-1-390 et seq. is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      48.    The purpose of the GFBPA, is to protect consumers from unfair and/or

deceptive practices in the conduct of any trade or commerce in part or wholly in the

state. O.C.G.A. § 10-1-391.

      49.    O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15 U.S.C.

§ 45(a)(1), which implements the FDCPA.

      50.    O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.

      51.    Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

      52.    Defendant’s conduct has implications for the consuming public in

general.

      53.    Defendant’s conduct negatively impacts the consumer marketplace.

      54.    Collecting a debt incurred during a consumer transaction could harm

the general consuming public if conducted via deceptive acts or practices and clearly

falls within the parameters of the GFBPA. Thus, a violation of the FDCPA




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constitutes a violation of the GFBPA. See 1st Nationwide Collection Agency, Inc. v.

Werner, 288 Ga. App. 457, 459 (2007).

        55.    Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).

        56.    As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-399(a).

        57.    As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).

        58.    As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).

        59.    Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                       TRIAL BY JURY

        60.    Plaintiff is entitled to and hereby requests a trial by jury.

        WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

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a.)    Plaintiff’s actual damages;

b.)    Statutory damages pursuant to 15 U.S.C. § 1692k;

c.)    Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k ;

d.)    General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-399(a)

       & (c);

e.)    Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-399(d);

       and

f.)    Such other and further relief as may be just and proper.

       Respectfully submitted this 22nd day of July, 2020.


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